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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                EASTERN
                                 ______________ DIVISION

                                                  )
Derrick Jones, et al.                             )
Plaintiff,                                        )
                                                  )
V.                                                )           Case No. 421-cv-600
                                                  )
City of St. Louis, Missouri, et al.               )
Defendant.                                        )

                  VERIFIED MOTION FOR ADMISSION PRO HAC VICE

        Pursuant to Rule 12 of the local rules of the United States District Court for the Eastern
District of Missouri, I, Oren Nissim Nimni                   , move to be admitted pro hac vice to
the bar of this court for the purpose of representing Plaintiffs                    in this matter.
In support of this motion, I submit the following information as required by Rule 12.01(E):

(a)    Full name of the movant-attorney;
       Oren Nissim Nimni
(b)    Name of the firm or letterhead under which the movant practices. Include the address,
telephone number and fax number of the firm;

               Rights Behind Bars
       Name: __________________________________________________________
                 416 Florida Ave.
       Address:_________________________________________________________
                        Washington, D.C.
       City, State Zip: ___________________________________________________
                   206-200-9088
       Phone No.:_______________________________________________________
       Fax No.:_________________________________________________________

(c)    Email for movant-attorney;
        oren@rightsbehindbars.org
(d)    Name of the law school(s) movant attended and the date(s) of graduation therefrom;
        Northeastern University School of Law
(e)    Bars, state and federal, of which the movant is a member, with dates of admission and
       registration numbers, if any;

       Jurisdiction                     Yr. Admitted                Reg. Number
       Massachusetts  State Bar       2014                    691821
       ________________________________________________________________________
       District of Massachusetts      2017                    691821
       ________________________________________________________________________
       First Circuit Court of Appeals 2019                    1188821
       ________________________________________________________________________
       Supreme Court of the U.S.      2019
       ________________________________________________________________________

(f)    The movant is a member in good standing of all bars of which movant is a member; the
       movant is not under suspension or disbarment from any bar; the movant has attached to
       this motion a certificate of good standing in the bar of the jurisdiction in which the
       movant resides or is regularly employed as an attorney.
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(g)    Movant does not reside in the Eastern District of Missouri, is not regularly employed in
       this district and is not regularly engaged in the practice of law in this district.

        Movant attests under penalty of perjury the truth and accuracy of the foregoing facts, and
respectfully requests that this motion be granted and that the movant be admitted pro hac vice to
the bar of the court to appear in the instant matter.




                                       Signature of Movant
